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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS

                       _________________________________________



__________________________________
Plaintiff

                                                    __________________________________
v.                                                  Docket Number

__________________________________
Defendant

     CONSENT TO PROCEED BEFORE A UNITED STATES MAGISTRATE JUDGE

In accordance with the provisions of 28 U.S.C. § 636(c), the parties to the above captioned civil
matter hereby waive their right to proceed before a Judge of the United States District Court and
consent to have a United States Magistrate Judge conduct any and all further proceedings in the
above styled case (including the trial) and order entry of a final judgment.

Signature of Party or Counsel of Record             Date

__________________________________                  __________________________________
__________________________________                  __________________________________
__________________________________                  __________________________________

NOTE: Return this form to the District Clerk only if it has been executed by all parties to the
case.
__________________________________________________________________________

                                ORDER OF REASSIGNMENT

IT IS HEREBY ORDERED that the above captioned matter be reassigned to the United States
Magistrate Judge______________________________ for the conduct of all further proceedings
and the entry of judgment in accordance with 28 § 636(c) and the foregoing consent of the
parties.

__________________________________                  __________________________________
Date                                                UNITED STATES DISTRICT JUDGE
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                TRIALS BY THE UNITED STATES MAGISTRATE JUDGE

28 U.S.C. § 636(c)(1) and Fed. R. Civ. Proc 73(b) provide that upon the consent of all parties in a
civil case, the district judge may enter an order reassigning the civil case to a magistrate judge.
Miscellaneous Order No. 6 of the Northern District of Texas provides that it is the plaintiff's
obligation to attach a copy of this notice to the complaint and summons, when served.



                    NOTICE OF RIGHT TO CONSENT TO PROCEED
                   BEFORE A UNITED STATES MAGISTRATE JUDGE

You have the opportunity to consent to the exercise of civil jurisdiction over your case by a
magistrate judge. If all parties involved in your case consent, the presiding district judge may
enter an order of transfer, and reassign your case to a magistrate judge.

Your decision to consent, or not to consent, to the reassignment of your case to a magistrate judge
is entirely voluntary and without any adverse consequences if you choose not to consent. Your
decision should be communicated to the clerk of the district court using the form entitled: Consent
to Proceed Before a United States Magistrate Judge ("consent form"). It is preferred that all
parties submit the consent form jointly, but it may be submitted individually if necessary. A
district judge or magistrate judge will not be informed of any party's response to this notice unless
all parties have consented to the referral of the matter to a magistrate judge.

Even if all parties consent to the exercise of civil jurisdiction by a magistrate judge, the district
judge may choose not to enter an order reassigning the case to a magistrate judge. However, if the
district judge does enter an order of transfer, and reassigns your case to the magistrate judge, the
magistrate judge is then authorized to conduct any or all proceedings in the case, including a jury
or non−jury trial, and order the entry of a final judgment. Upon entry of judgment by the
magistrate judge in any case referred under 28 U.S.C. § 636(c)(1), 28 U.S.C. § 636(c)(3) provides
that "an aggrieved party may appeal directly to the appropriate United States court of appeals
from the judgment of the magistrate judge in the same manner as an appeal from any other
judgment of a district court."

If you wish to consent to proceed before a United States magistrate judge and are a registered
electronic filer in the Northern District of Texas, you complete the online form available in the
court's ECF system under Civil Events, Other Filings. Non−ECF filers may access the consent
form on the court's website at www.txnd.uscourts.gov, Forms, Civil or request a paper copy from
any of the clerk's seven divisional offices.
